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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                           Chapter 11 (Subchapter V)

    BC HOSPITALITY GROUP INC., et al.,1                              Case No. 20-13103 (BLS)

                                              Debtors.               (Jointly Administered)




                       STATEMENT OF FINANCIAL AFFAIRS FOR
                  BC HOSPITALITY GROUP INC., CASE NO. 20-13103 (BLS)




1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: BC Hospitality Group Inc. (8766); BC Hospitality Group LLC (9360); BC International LLC (1356);
BC Commissary NJ LLC (0230); E2 185 Bleecker LLC (6862); E2 60 West 22nd Street LLC (9567); E2 Lafayette
LLC (7419); BC Williamsburg LLC (8277); BCRC LLC (7297); CW SSS LLC (9958); BC Union Square LLC
(5172); BC 1385 Broadway LLC (2138); BC 630 Lexington LLC (3202); CCSW Fenway LLC (5517); E2 Seaport
LLC (9720); BC Back Bay LLC (0550); BC Providence LLC (0737); BC Silver Lake LLC (2825); BC Century City
LLC (0901); and BC West Hollywood LLC (3878). The Debtors’ mailing address is 205 Hudson Street, Suite 1001,
New York, New York 10013.
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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

                                                                               Chapter 11 (Subchapter V)
             In re:
                                                                               Case No. 20-13103 (BLS)
             BC HOSPITALITY GROUP INC., et al.,
                                                                               (Jointly Administered)
                                                       Debtors. 1



                              NOTES TO THE DEBTORS’ SCHEDULES OF
                  ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                The above-captioned debtors and debtors in possession (each, a “Debtor,” and collectively,
         the “Debtors”) are filing their respective Schedules of Assets and Liabilities (collectively, the
         “Schedules”) and Statements of Financial Affairs (collectively, the “Statements,” and together
         with the Schedules, the “Schedules and Statements”) in the United States Bankruptcy Court for
         the District of Delaware (the “Court”). The Debtors, with the assistance of their professional
         advisors, prepared the Schedules and Statements in accordance with section 521 of title 11 of the
         United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), and Rule 1007 of the
         Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                  These notes pertain to, are incorporated by reference in, and comprise an integral part of,
         all of the Schedules and Statements. These notes should be referred to as part of, and reviewed in
         connection with, the Schedules and Statements.2

                 While the Debtors’ management has made reasonable efforts to ensure that the Schedules
         and Statements are as accurate and complete as possible under the circumstances, based on
         information that was available at the time of preparation, inadvertent errors, inaccuracies, or
         omissions may have occurred or the Debtors may discover subsequent information that requires
         material changes to the Schedules and Statements. Because the Schedules and Statements contain
         unaudited information, which is subject to further review, verification, and potential adjustment,
         there can be no assurance that the Schedules and Statements are complete.

         1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number
               are: BC Hospitality Group Inc. (8766); BC Hospitality Group LLC (9360); BC International LLC (1356); BC
               Commissary NJ LLC (0230); E2 185 Bleecker LLC (6862); E2 60 West 22nd Street LLC (9567); E2 Lafayette LLC
               (7419); BC Williamsburg LLC (8277); BCRC LLC (7297); CW SSS LLC (9958); BC Union Square LLC (5172);
               BC 1385 Broadway LLC (2138); BC 630 Lexington LLC (3202); CCSW Fenway LLC (5517); E2 Seaport LLC
               (9720); BC Back Bay LLC (0550); BC Providence LLC (0737); BC Silver Lake LLC (2825); BC Century City LLC
               (0901); and BC West Hollywood LLC (3878). The Debtors’ mailing address is 205 Hudson Street, Suite 1001, New
               York, New York 10013.
         2
               These notes are in addition to any specific notes that may be contained in each of the Schedules or Statements.
               The fact that the Debtors have prepared a general note herein with respect to any of the Schedules and Statements
               and not to others should not be interpreted as a decision by the Debtors to exclude the applicability of such general
               note to the Debtors’ remaining Schedules and Statements, as appropriate.
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                 The Schedules and Statements have been signed by David Selinger, the Secretary and Head
         of Real Estate and Development of BC Hospitality Group Inc. (“BCHG Inc.”). In reviewing and
         signing the Schedules and Statements, Mr. Selinger necessarily relied upon the efforts, statements,
         and representations of the Debtors’ other personnel and advisors. Mr. Selinger has not (and could
         not have) personally verified the accuracy of each such statement and representation, including,
         but not limited to, statements and representations concerning amounts owed to creditors,
         classification of such amounts, and respective creditor addresses.

                 Disclosure of information in one or more Schedules or one or more Statements, even if
         incorrectly placed, shall be deemed to be disclosed in the correct Schedules, Statements, exhibits,
         or attachments.

                                                 GENERAL NOTES

         Reservation of Rights. Reasonable efforts have been made to prepare and file complete and
         accurate Schedules and Statements; however, inadvertent errors or omissions may exist. The
         Debtors reserve all rights to amend or supplement the Schedules and Statements from time to time,
         in all respects, as may be necessary or appropriate, including the right to amend the Schedules and
         Statements with respect to any claim (“Claim”) description, or designation; dispute or otherwise
         assert offsets or defenses to any Claim reflected in the Schedules and Statements as to amount,
         liability, priority, status, or classification; subsequently designate any Claim as “disputed,”
         “contingent,” or “unliquidated;” or object to the extent, validity, enforceability, priority, security,
         or avoidability of any Claim. Any failure to designate a Claim in the Schedules and Statements as
         “disputed,” “contingent,” or “unliquidated” does not constitute an admission by the Debtors that
         such Claim or amount is not “disputed,” “contingent,” or “unliquidated.” Listing a Claim does not
         constitute an admission of (a) liability, or (b) amounts due or owed, if any, by the Debtors.
         Furthermore, nothing contained in the Schedules and Statements shall constitute a waiver of rights
         with respect to these chapter 11 cases, including issues involving Claims, substantive
         consolidation, defenses, equitable subordination, or causes of action, including those arising under
         the provisions of chapter 5 of the Bankruptcy Code or any other relevant bankruptcy or
         nonbankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights
         contained elsewhere in these notes does not limit in any respect the general reservation of rights
         contained in this paragraph.

         “As of” Information Date. Unless otherwise indicated herein or in the Schedules and Statements,
         all financial information for the Debtors in the Schedules and Statements and these notes is
         provided as of December 14, 2020 (the “Petition Date”) or as close thereto as reasonably
         practicable under the circumstances. As noted in the applicable Schedule or Statement below, the
         Debtors have listed certain items as of November 29, 2020, including inventory, fixed assets, other
         assets, other current liabilities, and long-term liabilities.

         Basis of Presentation. The Schedules and Statements do not purport to represent financial
         statements prepared in accordance with Generally Accepted Accounting Principles (“GAAP”), nor
         are they intended to fully reconcile to any financial statements prepared by the Debtors.


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         Recharacterization. The Debtors may seek to recharacterize, reclassify, recategorize,
         redesignate, add, or delete items included in or excluded from the Schedules and Statements, and
         the Debtors and their estates reserve all rights in this regard.

         Summary of Significant Reporting Policies. The following is a summary of certain significant
         reporting policies:

                        a.      Current Market Value – Net Book Value. The Debtors do not have
                current market valuations for all estate assets. Accordingly, unless otherwise indicated
                herein or in the Schedules and Statements, the Schedules and Statements reflect the net
                book values, rather than current market values, of the Debtors’ assets as of the Petition
                Date (unless another date is indicated herein or in the Schedules and Statements), and may
                not reflect the net realizable value.

                       b.      First Day Orders. In most instances, amounts paid under various “first
                day orders” are excluded from the Schedules and Statements.

                        c.      Payables, Credits and Adjustments. Claims of creditors are listed in the
                amounts recorded on the Debtors’ books and records, based on invoices received and other
                relevant documentation from or contracts with such creditors. These amounts may not
                reflect certain credits, allowances or other adjustments due from such creditors to the
                Debtors.

                        d.     Leases. Nothing in the Schedules and Statements is, or shall be construed
                as, an admission as to the determination of the legal status of any lease (including, without
                limitation, whether any lease is a true lease or a financing arrangement, and whether such
                lease is unexpired).

                       e.      Executory Contracts and Unexpired Leases. Executory contracts and
                unexpired leases have been set forth on Schedule G but are incorporated into Schedule A/B
                as applicable. The Schedules and Statements do not reflect any claims for rejection
                damages.

         Unknown or Undetermined Amounts. Where a description of an amount is left blank or listed
         as “unknown” or “undetermined,” such response is not intended to reflect upon the materiality of
         such amount.

         Liabilities. The Debtors have sought to allocate liabilities between the prepetition and postpetition
         periods based on the information and research that was conducted in connection with the
         preparation of the Schedules and Statements. As additional information becomes available and
         further research is conducted, the allocation of liabilities between prepetition and postpetition
         periods may change. The Debtors reserve the right to amend the Schedules and Statements as they
         deems appropriate in this regard.

         Litigation with Chloe. As set forth more fully in the Declaration of David Selinger in Support of
         Chapter 11 Petitions and First Day Motions [D.I. 3] (the “First Day Declaration”), over the past
         few years, the Debtors have been engaged in various litigation with Ms. Chloe Coscarelli, Chef
         Chloe LLC (“Chef Chloe”), CC Hospitality Holdings LLC, and CKC Sales LLC (collectively,
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         “Chloe”). On June 29, 2018, Chloe commenced an action against ESquared Hospitality LLC
         (“ESquared”) and BCHG LLC in the United States District Court for the Southern District of New
         York (the “NY Federal District Court”), Case No. 18 cv 5943 (JMF), seeking, among other things,
         a declaratory judgment that Chef Chloe still owned 50% of the membership interests in BCHG
         LLC. Judge Furman of the NY Federal District Court determined that Chef Chloe was required to
         submit this claim, among others, to arbitration.

         On March 12, 2019, Chef Chloe served a demand for arbitration on ESquared and BCHG LLC
         seeking, among other things, a declaratory judgment that Chef Chloe owned 50% of the
         membership interests in BCHG LLC. On May 13, 2020, the arbitrator issued a partial final award
         that, if confirmed by the NY Federal District Court, would reinstate Chef Chloe’s membership
         interests in BCHG LLC, among other things. On September 3, 2020, the arbitrator issued a
         complete final award that, if confirmed by the NY Federal District Court, would award Chef Chloe
         attorneys’ fees and costs totaling $2,265,838.60.

         The arbitrator’s awards — reinstating Chef Chloe’s membership interests in BCHG LLC and
         awarding attorneys’ fees and costs — are the subject of pending confirmation and vacatur
         proceedings before Judge Furman of the NY Federal District Court, and thus, are currently
         inchoate and unenforceable. Accordingly, any claims in connection with the arbitrator’s awards
         are listed as contingent, unliquidated, and disputed in the Schedules and Statements.

         Insiders. The Debtors have attempted to include all payments made on or within 12 months before
         the Petition Date to any individual or entity deemed an “insider.” An individual or entity may be
         an “insider” if such individual or entity, based on the totality of the circumstances, has at least a
         controlling interest in, or exercises sufficient authority over, the Debtors so as to dictate corporate
         policy and the disposition of corporate assets.

         The listing of a party as an “insider” or the inclusion of transactions with any party designated as
         such in the Schedules and Statements is made here to provide parties in interest with information
         and is not intended to be nor should be construed as a legal characterization of such party as an
         insider or to reflect any legal conclusions made by the Debtors and does not act as an admission
         of any fact, Claim, right, or defense, and all such rights, Claims, and defenses are hereby expressly
         reserved. Furthermore, certain of the individuals identified above may not have been insiders for
         the entirety of the 12-month period, but the Debtors have included them herein out of an abundance
         of caution. The Debtors reserve all rights with respect thereto.

         503(b)(9) and PACA/PASA Claims. The liabilities listed on the Schedules and Statements do
         not reflect any analysis of any claims under section 503(b)(9) of the Bankruptcy Code, the
         Perishable Agricultural Commodities Act of 1930, or the Packers and Stockyards Act of 1921.

         Gift Card Transactions. In the ordinary course of business, Debtor BC Hospitality Group LLC
         (“BCHG LLC”) routinely engages in intercompany transactions with the other Debtors to manage
         the company’s gift card program. The proceeds from the sales of gift cards are collected at the
         restaurant level and are transferred to BCHG LLC. The receipts and associated liability from gift
         card sales are recorded on the books of BCHG LLC each period. Accordingly, the gift card
         liability is only reflected in the Schedule E/F of BCHG LLC and is listed as of November 29, 2020.


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                                            NOTES FOR SCHEDULES

         Schedule A/B – Assets – Real and Personal Property.

         Part 2: Deposits and Prepayments. The Debtors provided certain de minimus deposits to utility
         companies several years ago that are not reflected in Part 2 of Schedule A/B.

         Part 5: Inventory, Excluding Agriculture Assets. The amount listed for the Debtors’ inventory
         is provided as of November 29, 2020.

         Part 7: Office Furniture, Fixtures, and Equipment; Collectibles. The amount listed for the
         Debtors’ fixed assets is provided as of November 29, 2020.

         Any leasehold improvements and equipment identified on Schedule A/B, Part 7 are listed net of
         any depreciation.

         Part 9: Real Property. Any leasehold improvements identified on Schedule A/B, Part 9 are listed
         with an undetermined value. The Debtors and their estates reserve all rights they may have under
         applicable law in connection with their asserted real property lease interests.

         Part 10: Intangibles and Intellectual Property. Certain intangibles or intellectual property are
         listed on Schedule A/B, Part 10 with an unknown or undetermined amount on account of the fact
         that the fair market value of such ownership is dependent on numerous variables and factors.
         Certain of the trademarks listed in Part 10 for Debtor BCHG LLC are currently pending, opposed,
         or suspended.

         Part 11: All Other Assets. The amount listed for the Debtors’ other assets is provided as of
         November 29, 2020.

         The Debtors may not have listed all of their respective causes of action or potential causes of action
         against third parties as assets in Schedule A/B, Part 11, Item 74, including, but not limited to,
         causes of action arising under the Bankruptcy Code or any other applicable laws (including, but
         not limited to, intellectual property laws).

         Debtor BCHG LLC disclosed certain trademark disputes in Schedule A/B, Part 11, Item 74. Such
         disputes are currently suspended.

         Schedule D – Creditors Who Have Claims Secured by Property. The Debtors have not
         included on Schedule D all parties that may believe their claims are secured through setoff rights,
         deposits posted by, or on behalf of, the Debtors, inchoate statutory lien rights, or real property
         lessors, utility companies or other parties that may hold security interests.

         By listing a party on Schedule D based on a UCC-1 filing, the Debtors and their estates are not
         conceding that such party actually holds a perfected, unavoidable security interest in the asset that
         is the subject of such filing, and reserve all rights as set forth in these notes.


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         Certain of the amounts listed on Schedule D may not reflect accrued interest, fees, costs, and other
         charges to which such creditors may be entitled.

         The descriptions of claims and collateral in Schedule D are provided in summary form only.
         Reference must be made to the applicable transaction documents to obtain a complete description
         of the claims secured by collateral and the collateral securing such claims.

         Schedule E/F – Creditors Who Have Unsecured Claims.

         Certain claims held by state and local taxing authorities set forth in Schedule E/F ultimately may
         be deemed to be secured claims pursuant to state or local laws. Certain of the claims owing to
         various taxing authorities to which the Debtors may be liable may be subject to ongoing audits.
         The Debtors reserve their right to dispute or challenge whether claims owing to various taxing
         authorities are entitled to priority and the listing of any claim on Schedule E/F Part 1 does not
         constitute an admission that such claim is entitled to priority treatment pursuant to section 507 of
         the Bankruptcy Code. In addition, because the Debtors file their tax returns under a consolidated
         tax group, each applicable taxing authority has been listed for all of the Debtors.

         Part 1. At the time of the filing of the Schedules and Statements, the Debtors are not able to
         determine the priority amount, if any, for certain employee claims for paid time off. The Debtors
         intend to pay employee claims for paid time off, if any, in the ordinary course pursuant to
         applicable state law, all as set forth more fully in the Debtors’ Motion for Entry of Interim and
         Final Orders (I) Authorizing the Debtors to (A) Pay Prepetition Employee Wages, Salaries, Other
         Compensation, and Reimbursable Employee Expenses, and (B) Continue Employee Benefits
         Programs and (II) Granting Related Relief [D.I. 10].

         Part 2. Certain creditors listed on Part 2 of Schedule E/F may owe amounts to the Debtors;
         accordingly, the Debtors and their estates may have valid setoff and recoupment rights with respect
         to such amounts. Where able, the Debtors have reflected claims on Part 2 of Schedule E/F net of
         deposits, retainers, and prepayments.

         The Debtors do not have contact or noticing information for the holders of the gift cards.
         Therefore, only the gross outstanding amount of all gift cards is listed on Part 2 of Schedule E/F
         for Debtor BCHG LLC.

         Debtor BC Hospitality Group Inc. previously obtained a Payment Protection Program loan (the
         “PPP Loan”) in the amount of $2.673 million. The Debtors have already properly deployed the
         proceeds of the PPP Loan in accordance with applicable guidelines and regulations and have
         already submitted an application for forgiveness of the PPP Loan and expect it to be fully forgiven.
         The PPP Loan is disclosed in Part 2 of Schedule E/F of Debtor BCHG Inc. and marked as
         contingent and unliquidated.

         Schedule G – Executory Contracts and Unexpired Leases. Omission of a contract, lease or
         other agreement from Schedule G does not constitute an admission that such omitted contract,
         lease or agreement is not an executory contract or unexpired lease. Likewise, the listing of an
         agreement on Schedule G does not constitute an admission that such agreement is an executory
         contract or unexpired lease, or that such agreement was in effect or unexpired on the Petition Date
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         or is valid or enforceable. The agreements listed on Schedule G may have expired, or may have
         been modified, amended, or supplemented from time to time by various amendments,
         restatements, waivers, estoppel certificates, letters and other documents, instruments and
         agreements that may not be listed on Schedule G.

         Contracts with “by CHLOE.” are listed in Schedule G for BCHG Inc.

         Schedule H – Co-Debtors.

         The Debtors may not have identified certain guarantees associated with the Debtors’ executory
         contracts, unexpired leases, and other such agreements. The Debtors reserve all of their rights to
         amend the Schedules to the extent that additional guarantees are identified or such guarantees are
         discovered to have expired or be unenforceable.

         As discussed above, the Debtors are involved in pending or threatened litigation. These matters
         may involve multiple plaintiffs and defendants, some or all of whom may assert cross-claims and
         counter-claims against other parties. Because all such claims are contingent, disputed, or
         unliquidated, such claims have not been set forth individually on Schedule H.

                                          NOTES FOR STATEMENTS

         Statement 3. Any values listed in this section are separate and not repeated in Statement 4
         (payments or other transfers of property made within 1 year before filing this case that benefited
         any insider) or Statement 11 (payments related to bankruptcy within 1 year of filing). Please refer
         to those sections for payments related to those parties.

         Debtor BC Hospitality Group LLC disclosed various payments to BLT Restaurant Group LLC
         (“BLT”). BLT provides accounting and other support services to the Debtors. BLT also purchases
         insurance on behalf of the Debtors under a group policy to provide the Debtors a lower cost. The
         Debtors reimburse BLT for their pro rata share of insurance and for various other costs, as reflected
         in Statement 3. This relationship was established several years ago when BLT owned ESquared,
         but BLT’s membership interest in ESquared was transferred to another entity in 2015 and BLT is
         no longer an affiliate of the Debtors.

         Statement 4. All payments to the Debtors’ directors and officers were made by Debtor BCHG
         LLC and are listed in Statement 4 for that entity.

         As discussed more fully in the First Day Declaration, Patrick J. Bartels, Jr. is an independent
         director of Debtor BCHG Inc. and the sole member of the special restructuring committee of the
         Board of Directors of BCHG Inc. The payments to Mr. Bartels, in his role as independent director
         of BCHG Inc., are disclosed in Statement 4 and were made to his company Redan Advisors LLC.

         Statement 7. Debtor BCHG LLC disclosed certain trademark disputes as pending in Statement
         7. However, each of these disputes is currently suspended.

         Statement 9. In addition to the charitable programs disclosed in Statement 9, the Debtors
         participate in various charitable programs, as discussed more fully in the Debtors’ Motion for Entry
         of Interim and Final Orders (I) Authorizing the Debtors to (A) Honor Certain Prepetition
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         Obligations to Customers and (B) Otherwise Continue Certain Customer Programs in the
         Ordinary Course of Business; and (II) Granting Related Relief [D.I. 9]. Certain of these programs
         are not listed in response to Statement 9 because the aggregate value is less than $1,000 or because
         the funds used for such programs are donated by third parties.

         Statement 11. All payments related to the bankruptcy are reflected in Statement 11 of BCHG
         Inc., who made such payments on behalf of all of the Debtors. BCHG Inc. also provided a retainer
         to Epiq Corporate Restructuring, LLC, as set forth in the Initial Monthly Operating Report
         [D.I. 66]. This payment is not reflected in Statement 11 because it was made post-petition.

         Statement 16. Each of the Debtors other than BC Commissary NJ LLC (“BC Commissary”), BC
         International LLC, BC Century City LLC, and BC West Hollywood LLC collects personally
         identifiable information from customers, including with respect to, among other things, order
         preferences and in connection with the Debtors’ rewards program offered through the by CHLOE.
         application. This information includes information such as, but not limited to, customers’ names,
         gender, age, birthday, addresses, and phone numbers. This information is subject to a privacy
         policy.

         Statement 26(a). For purposes of Statement 26(a), the Debtors listed the initial date of service as
         the date that the applicable accountant or bookkeeper commenced its services for any Debtor or
         affiliated entity.

         Statement 26(d). From time to time, the Debtors provided financial statements in the ordinary
         course of business to certain parties for business, statutory, credit, financing and other reasons.
         Recipients have included regulatory agencies, financial institutions, investment banks, vendors,
         landlords, debtholders and their legal and financial advisors. Due to the confidentiality
         requirements of certain related non-disclosure agreements, and the number of parties that have
         received such statements, such parties are not listed in response to this question.

         Statement 27. Debtor BC Commissary conducts weekly food inventories. The other Debtors with
         stores conduct limited physical inventories of their beverages and do not inventory food on a
         balance sheet basis.

         Statement 30. The Debtors have included a response to Statement 30 in Statement 4.




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Fill in this information to identify the case:

Debtor        BC Hospitality Group Inc.


United States Bankruptcy Court for the: District of Delaware


Case number          20-13103
 (if known)
                                                                                                                                        ¨ Check if this is an
                                                                                                                                            amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).




 Part 1:         Income
  1. Gross revenue from business
      þ None


  2. Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
     from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.
      ¨ None

                                                                                          Description of sources of revenue        Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)
                FROM THE BEGINNING          From 01/01/2020     To 12/14/2020             INTEREST INCOME                                        $8,519.00
                OF THE FISCAL YEAR
                TO FILING DATE:
                FOR PRIOR YEAR:             From 01/01/2019     To 12/31/2019             INTEREST INCOME                                     $112,307.00


 Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

  3. Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers¾including expense reimbursements¾to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted
     on 4/1/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
      þ None


  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,825. (This amount may be adjusted on 4/1/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do
     not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
     general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
     the debtor. 11 U.S.C. § 101(31).
      þ None


  5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
      þ None


  6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an
     account of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the
     debtor owed a debt.
      þ None




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1 of 8
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                                                                                                             20-13103
           (Name)



 Part 3:     Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
    List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
    involved in any capacity-within 1 year before filing this case.
     þ None


 8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
    hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     þ None


 Part 4:     Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate
    value of the gifts to that recipient is less than $1,000
     þ None


 Part 5:     Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
     þ None


 Part 6:     Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the
     filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking
     bankruptcy relief, or filing a bankruptcy case.
     ¨ None

           Who was paid or who received the transfer?         If not money, describe any property         Dates                          Total
                                                              transferred                                                                amount or
           ANKURA CONSULTING GROUP, LLC                                                                 12/8/2020                          $75,000.00
           485 LEXINGTON AVE, 10TH FLOOR
           NEW YORK, NY 10017
           Email or website address
           WWW.ANKURA.COM

           YOUNG CONAWAY STARGATT & TAYLOR, LLP                                                         12/1/2020                         $100,000.00
           1000 NORTH KING STREET
           WILMINGTON, DE 19801
           Email or website address
           WWW.YOUNGCONAWAY.COM

           YOUNG CONAWAY STARGATT & TAYLOR, LLP                                                         12/11/2020                         $80,000.00
           1000 NORTH KING STREET
           WILMINGTON, DE 19801
           Email or website address
           WWW.YOUNGCONAWAY.COM

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this
     case to a self-settled trust or similar device.
     Do not include transfers already listed on this statement.
     þ None

 13. Transfers not already listed on this statement
     List any transfers of money or other property¾by sale, trade, or any other means¾made by the debtor or a person acting on behalf of the
     debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
     financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
     þ None



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 Part 7:      Previous Locations

 14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
     ¨ Does not apply

            Address                                                                                  Dates of occupancy

            950 3RD AVENUE                                                                           From INCEPTION                 To 07/26/2019
            FLOOR 22
            NEW YORK, NY 10022

 Part 8:      Health Care Bankruptcies

 15. Health Care bankruptcies
     Is the debtor primarily engaged in offering services and facilities for:
     ¾ diagnosing or treating injury, deformity, or disease, or
     ¾ providing any surgical, psychiatric, drug treatment, or obstetric care?
     þ No. Go to Part 9.


 Part 9:      Personal Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
     ¨ No.
     þ Yes. State the nature of the information collected and retained.           REFER TO GLOBAL NOTES
                Does the debtor have a privacy policy about that information?
                ¨ No
                þ Yes

 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?
     þ No. Go to Part 10.
     ¨ Yes. Does the debtor serve as plan administrator?
                þ No. Go to Part 10.
                ¨ Yes. Fill in below:



 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed,
     sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage
     houses, cooperatives, associations, and other financial institutions.
     þ None

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing
     this case.
     þ None

 20. Off-premises storage
     List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building
     in which the debtor does business.
     þ None


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.
    þ None



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 Part 12:     Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
 n Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
    regardless of the medium affected (air, land, water, or any other medium).
 n Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the
    debtor formerly owned, operated, or utilized.
 n Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant,
    contaminant, or a similarly harmful substance.
 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
     þ No
     ¨ Yes. Provide details below.

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
     þ No
     ¨ Yes. Provide details below.

 24. Has the debtor notified any governmental unit of any release of hazardous material?
     þ No
     ¨ Yes. Provide details below.


 Part 13:     Details About the Debtor’s Business or Connections to Any Business

 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.
     ¨ None

            Business name and address               Describe the nature of the business                  Employer Identification number
                                                                                                         Do not include Social Security number or ITIN.
            BC HOSPITALITY GROUP LLC                PROVIDES ADMINISTRATIVE SUPPORT                      XX-XXXXXXX
            205 HUDSON ST, SUITE 1001               SERVICES FOR ITS SUBSIDIARIES. IT WAS                Date business existed
            NEW YORK, NY 10013                      FORMED ON NOVEMBER 6, 2014 UNDER
                                                    THE NAME CCSW LLC                                    From: 11/6/2014      To: CURRENT

 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              ¨ None

                Name and address                                                                    Dates of service

                AMANDA MILLER                                                                       From 5/10/2017             To CURRENT
                651 N TERRANCE AVENUE
                APT 4A
                MOUNT VERNON, NY 10552
                ANESHA MOHAMMED                                                                     From 9/1/2015              To 12/31/2019
                121-06 109TH AVENUE
                SOUTH OZONE PARK, NY 11420
                ANGELA HUDSON                                                                       From 9/1/2015              To 12/31/2019
                1778 SOUTHERN BLVD
                BRONX, NY 10460
                CATHERINE CHEN                                                                      From 2/19/2018             To CURRENT
                8615 BROADWAY
                APT 7C
                ELMHURST, NY 11373
                CHRIS ROMANO                                                                        From 4/6/2011              To CURRENT
                10 EMMONS DRIVE
                MILLSTONE TOWNSHIP, NJ 08510
                DWAYNE GRIFFIN                                                                      From 11/15/2017            To CURRENT
                70 PINE STREET
                APT 1130
                NEW YORK, NY 10005




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                Name and address                                                                        Dates of service

                DWAYNE GRIFFIN                                                                          From 11/15/2017            To CURRENT
                70 PINE STREET
                APT 1130
                NEW YORK, NY 10005
                EBERECHUKWU AKIBA                                                                       From 12/8/2020             To CURRENT
                654 9TH AVE
                APT 3A
                NEW YORK, NY 10036
                ELIZA STAUNTON                                                                          From 7/9/2019              To 1/31/2020
                366 GATES AVENUE
                APT 3A
                BROOKLYN, NY 11216
                JANICE LINDSAY                                                                          From 4/2/2018              To 4/30/2020
                621 SUSSEX STREET
                APT 2R
                HARRISON, NJ 07029
                JARED REAMER                                                                            From 11/1/2017             To 11/30/2020
                131 SHERMAN AVENUE
                JERSEY CITY, NJ 07307
                JELIZA OLAGUERA                                                                         From 6/2/2014              To 1/1/2021
                3410 76TH STREET
                JACKSON HEIGHTS, NY 11372
                JOHN HUBER                                                                              From 12/1/2001             To CURRENT
                570 LYNNE DRIVE
                MORRIS PLAINS, NJ 07950
                KIMBERLY TAN                                                                            From 2/3/2020              To 12/4/2020
                255 16TH STREET
                APT 2R
                BROOKLYN, NY 11215
                LAUREN AMATO                                                                            From 8/29/2019             To 7/10/2020
                205 CHURCH STREET
                BELFORD, NJ 07718

     26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
              statement within 2 years before filing this case.
              ¨ None

                Name and address                                                                        Dates of service

                COHNREZNICK LLP                                                                         From 2/20/2017             To CURRENT
                1301 AVENUE OF THE AMERICAS
                NEW YORK, NY 10019
                ESQUARED HOSPITALITY LLC                                                                From INCEPTION             To CURRENT
                145 EAST 57TH ST
                11TH FLOOR
                NEW YORK, NY 10022

     26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
              ¨ None

                Name and address                                                                        If any books of account and records are
                                                                                                        unavailable, explain why
                COHNREZNICK LLP
                1301 AVENUE OF THE AMERICAS
                NEW YORK, NY 10019
                ESQUARED HOSPITALITY LLC
                145 EAST 57TH ST
                11TH FLOOR
                NEW YORK, NY 10022

     26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
              statement within 2 years before filing this case.
              þ None

 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     þ None




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 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
     ¨ None

          Name                                Address                                            Position and nature of any       % of interest, if any
                                                                                                 interest
          ESQUARED HOSPITALITY                145 E. 57TH STREET                                 COMMON STOCK                     99.00%
          LLC                                 NEW YORK, NY 10022                                 SERIES A PREFERRED               13.89%
                                                                                                 STOCK
          BAIN CAPITAL DOUBLE                 2000 CLARENDON STREET                              SERIES A PREFERRED               45.21%
          IMPACT FUND, LP                     BOSTON, MA 02116                                   STOCK
          LION/BC LLC                         21 GROSVENOR PLACE                                 SERIES A PREFERRED               9.72%
                                              LONDON SW1X 7HF                                    STOCK
                                              UNITED KINGDOM
          KF-CHLOE, LLC                       500 PARK AVENUE, 4TH FLOOR                         SERIES A PREFERRED               9.30%
                                              NEW YORK, NY 10022                                 STOCK
          QOOT INTERNATIONAL UK               C/O TGP INTERNATIONAL                              SERIES A PREFERRED               8.33%
          LIMITED                             276 VAUXHALL BRIDGE ROAD, 3RD                      STOCK
                                              FLOOR
                                              LONDON SW1V 1BB
                                              UNITED KINGDOM
          KITCHEN FUND, LP                    500 PARK AVENUE, 4TH FLOOR                         SERIES A PREFERRED               6.94%
                                              NEW YORK, NY 10022                                 STOCK
          DAVID SELINGER                      205 HUDSON ST, SUITE 1001                          SECRETARY
                                              NEW YORK, NY 10013
          PATRICK BARTELS                     205 HUDSON ST, SUITE 1001                          BOARD MEMBER
                                              NEW YORK, NY 10013

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
     control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
     ¨ None

         Name                               Address                                       Position and nature       Period during which position or
                                                                                          of any interest           interest was held
         PATRIK HELLSTRAND                  205 HUDSON ST, SUITE 1001                     FORMER CHIEF              From 12/6/2018 To 01/31/2020
                                            NEW YORK, NY 10013                            EXECUTIVE OFFICE

         JAMES HABER                        205 HUDSON ST, SUITE 1001                     FORMER CHIEF              From 01/31/2020 To 12/14/2020
                                            NEW YORK, NY 10013                            EXECUTIVE OFFICE

         SAMANTHA WASSER                    205 HUDSON ST, SUITE 1001                     FORMER                    From 01/29/2018 To 12/13/2020
                                            NEW YORK, NY 10013                            FOUNDER, SENIOR
                                                                                          VICE PRESIDENT,
                                                                                          AND CREATIVE
                                                                                          DIRECTOR
         CECILIA CHAO                       JOHN HANCOCK TOWER                            BOARD MEMBER              From 05/2020       To 05/2020
                                            200 CLARENDON STREET
                                            BOSTON, MA 02116
         CHRIS COZZONE                      JOHN HANCOCK TOWER                            BOARD MEMBER              From 06/2019       To 05/2020
                                            200 CLARENDON STREET
                                            BOSTON, MA 02116
         GREG GOLKIN                        500 PARK AVENUE 4TH FLOOR                     BOARD MEMBER              From               To 12/2020
                                            NEW YORK, NY 10022                                                      INCEPTION

         TODD COOK                          JOHN HANCOCK TOWER                            BOARD MEMBER              From               To 05/2020
                                            200 CLARENDON STREET                                                    INCEPTION
                                            BOSTON, MA 02116

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     þ None

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     ¨ None

          Name of the parent corporation                                                       Employer identification number of the parent
                                                                                               corporation.




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          Name of the parent corporation                                                 Employer identification number of the parent
                                                                                         corporation.

          BC HOSPITALITY GROUP INC.                                                      XX-XXXXXXX

 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     þ None




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 Part 14:     Signature and Declaration

         WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
         by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
         18 U.S.C. §§ 152, 1341, 1519, and 3571.

         I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the
         information is true and correct.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on 1/7/2021.




         û    /s/ David Selinger                                                      David Selinger
            Signature of individual signing on behalf of the debtor                   Printed Name

              Secretary and Head of Real Estate and Development
              Position or relationship to debtor




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         þ No
         ¨ Yes




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